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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                             )
DONNA CURLING, et al.                        )
                                             )
Plaintiff,                                   )
                                             )   CIVIL ACTION FILE NO.: 1:17-cv-
vs.                                          )   2989-AT
                                             )
BRAD RAFFENSPERGER, et al.                   )
                                             )
Defendant.                                   )
                                             )
                                             )

                DECLARATION OF MARILYN MARKS

        MARILYN MARKS hereby declares under penalty of perjury,

pursuant to 28 U.S.C. § 1746, that the following is true and correct:


1. I have personal knowledge of all facts stated in this declaration, and if

   called to testify, I could and would testify competently thereto.

2. I am the Executive Director of Plaintiff Coalition for Good Governance

   (“CGG”).

3. On August 3, 2021, I sent the email attached as Exhibit A to CGG’s list

   of municipal election clerks, county election officials, a number of city

   council members, and our BMD webinar subscriber list. Exhibit A is a

   true and correct copy of the email in the form that was sent, including all

   yellow highlighting.



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4. CGG frequently communicates with these and other officials, legislators,

   and political leaders on election security and voter privacy issues,

   including by providing updates on this lawsuit, legislation, and our

   educational efforts. This email is an example of such communications,

   and it was sent to urge the use of a secure voting system in the November

   2021 municipal elections, in light of known vulnerabilities and Dr.

   Halderman’s findings as set out in his rebuttal report.

5. Some of the links in the email to downloadable PDFs, hosted remotely on

   a ShareFile account operated by CGG, were inadvertently set to expire

   after the passage of 180 days when they were created and pasted into the

   email text. One hundred eighty days is a Sharefile default expiration

   period that can be selected when a unique link to a hosted document is

   created for distribution in an email. Since the 180-day links were created

   on August 3, 2021, they expired timely on January 30, 2022. As a result,

   clicking on one of the unique 180-day document links in the August 3,

   2021, email now produces a ShareFile page saying the link is invalid. I

   first became aware of the expired links on February 2, 2022.

6. The documents that were linked at the expired links in the August 3,

   2021, email are attached as exhibits as follows:

   - Exhibit B: Expert Rebuttal Report-Halderman



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   - Exhibit C: Expert Rebuttal Report-Appel

   - Exhibit D: Expert Rebuttal Report-Stark

   - Exhibit E: Halderman Declaration (Also Doc. 1133)

7. I was careful to ensure that none of the documents linked in the email

   were covered by a “confidential” designation under the Protective Order

   in this case. Counsel provided me the Halderman rebuttal report because

   it was not designated as AEO. Moreover, I understood from

   correspondence with Curling Plaintiffs’ counsel that it was not

   “confidential” either. To double check this, before writing the email

   message in Exhibit A, I first checked with Mr. Cross, Curling Plaintiff’s

   Counsel, on August 2, 2021, to confirm that Dr. Halderman’s rebuttal

   report was not AEO. He responded that it was “not confidential at all.”

8. I have not had access to any part of Dr. Halderman’s initial report, nor

   the redacted version. I have made it clear to anyone with whom I have

   talked about this case that I do not know the contents of either version,

   other than what has been said in generalities in open court and in the

   press and is thus already known to the general public.

 Executed on this date, February 3, 2022



                                              Marilyn R. Marks



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